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 1                                                            The Honorable Richard A. Jones
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                         UNITED STATES DISTRICT COURT FOR THE
 7                         WESTERN DISTRICT OF WASHINGTON
                                     AT SEATTLE
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 9
      UNITED STATES OF AMERICA,                         NO. CR11-0070RAJ
10
                             Plaintiff
11                                                      SUPPLEMENTAL SENTENCING
12                                                      MEMORANDUM

13                      v.
      ROMAN V. SELEZNEV,
14
15                           Defendant
16
17      I.      Defendant’s Cooperation
18           Defendant Roman Seleznev suggests in his sentencing memo that he has “fully
19 accepted responsibility for his crimes” and that he “wants to actively rectify the
20 consequences of his criminal actions” by cooperating with U.S. law enforcement. In light
21 of defendant’s newfound willingness to discuss his efforts to cooperate in public, the
22 government submits this supplemental briefing to provide the Court with an accurate
23 record of defendant’s efforts in this regard.
24           As the Court is already aware, Seleznev first met with the government in
25 December 2014, purportedly to provide assistance to the government. At that time,
26 shortly after defendant’s arrest, the information he possessed may have been helpful in
27 furthering other government investigations. In advance of the meeting, the government
28                                                                         UNITED STATES ATTORNEY
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 1 repeatedly told defense counsel that the value of any information defendant might have
 2 was extremely time-sensitive given the dynamic nature of the carding industry. The
 3 government made clear that the value of cooperation would be diminished or non-existent
 4 if Seleznev waited until after the trial, which was then set for May 4, 2015.
 5         Defendant, nonetheless, chose not to cooperate. While he met with the
 6 government in December 2014, defendant was combative and repeatedly refused to
 7 identify others he had conspired with or those he knew were involved in criminal
 8 behavior. When asked why he would not name others or provide information regarding
 9 others involved in cybercrime, defendant explained that he was withholding that
10 information as bargaining chips. When told that the government would require a
11 complete statement from defendant before negotiating the terms of a cooperation
12 agreement, defendant terminated the proffer session stating that he thought the proffer
13 was supposed to be a “negotiation.” Defendant provided no information of value to
14 apprehending other targets.
15         During the 20 months between the first “proffer” session and the eventual trial, the
16 government and defense counsel had many discussions about the possibility of
17 cooperation. The government repeatedly advised the defense that time was of the
18 essence, and that defendant had already seriously compromised the value of his
19 information by refusing to cooperate in the months following his apprehension.
20 Defendant provided no additional information to the government over this 20-month
21 period.
22         Following his conviction at trial (over two years after his apprehension), defendant
23 again requested an opportunity to meet with the government and provide information.
24 Although defendant’s potential usefulness has declined substantially as a result of the
25 passage of time, the government agreed to meet with defendant and participated in
26 proffer sessions on March 28-29, 2017. Unfortunately, he did not have any particularly
27 useful information. Defendant acknowledged his guilt and that of his co-conspirators on
28                                                                         UNITED STATES ATTORNEY
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 1 the carding forums. He also identified some of those he conspired with between
 2 approximately 2005 and his capture in 2014. Much of the information that he provided,
 3 however, was already well known to the Secret Service. Defendant simply did not have
 4 any immediately actionable information that could assist law enforcement. As such, the
 5 information he provided was mainly useful as background intelligence. Furthermore,
 6 Seleznev made statements that the government believes to be demonstrably false, thereby
 7 further undermining the value of any information he provided.
 8         Defendant’s belated effort to cooperate is insufficient to justify any reduction in
 9 his sentence. For law enforcement to make effective use of assistance in cybercrime
10 investigations, they need timely and complete information from a cooperating defendant.
11 The time to cooperate is in the immediate days and weeks after they are arrested. As time
12 passes, the value of any information a cybercriminal may possess quickly dissipates as
13 co-conspirators learn about the potential cooperator’s arrest, change their online
14 identities, and move to new infrastructure. Defendant was fully aware of the fact that
15 time was of the essence if he were to be useful to government. If he had provided useful
16 information when he first met with the government in 2014, this case may have turned
17 out very differently. Defendant, however, made a choice to throw that opportunity away
18 and proceed to trial. In light of his explicit refusal to provide useful information when it
19 was most valuable, he should not be rewarded for his belated efforts to cooperate.
20         As the government has advised counsel, post-judgment remedies are available in
21 the unlikely event that any information defendant provided turns out to be helpful.
22 Should any of the information or evidence defendant provided prove to be of assistance
23 to U.S. law enforcement in the future, the government will consider the credibility,
24 effectiveness and usefulness of his information in good faith. To the extent a reduction in
25 sentence is appropriate pursuant to Federal Rule of Criminal Procedure 35, the
26 government will file a motion seeking that relief.
27 ///
28                                                                          UNITED STATES ATTORNEY
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 1      II.      Loss Amount
 2            As the government noted in its sentencing memorandum, the loss amount for
 3 purposes of the guidelines is based on a minimum of $500 per access device that
 4 defendant possessed in relation to the crimes of conviction. See Government’s
 5 Sentencing Memorandum at 16-17. The testimony at trial established that defendant
 6 possessed approximately 2.9 million credit cards that he stole while the cards were in the
 7 process of being used. Therefore, the testimony and evidence at trial established that the
 8 cards he possessed were in fact useable at the time defendant possessed the cards. Id. In
 9 addition, Detective David Dunn conducted additional analysis of a sampling of the credit
10 card data found in defendant’s possession and completed the attached report detailing his
11 conclusion that “while there is a reasonable likelihood that Roman Seleznev did possess a
12 miniscule number of stolen cards that were expired, that percentage of cards would have
13 been a tiny fraction of the overall cards that he possessed.” See Attachment A. Given
14 that only 1.1 million of the 2.9 million cards Seleznev possessed would need to be usable
15 to meet the $550 million loss threshold, the Court may easily find by a preponderance of
16 the evidence that this threshold is satisfied.
17            Dated: April 17, 2017.
18
     ANNETTE L. HAYES
19
     United States Attorney
20
   s/ Norman Barbosa                           s/ Seth Wilkinson
21
   NORMAN BARBOSA                              SETH WILKINSON
22 Assistant United States Attorney            Assistant United States Attorneys
   Western District of Washington              Western District of Washington
23
24
25 s/ Harold Chun
   HAROLD CHUN
26 Trial Attorney
27 United States Department of Justice
   Computer Crimes and Intellectual Property Section
28                                                                         UNITED STATES ATTORNEY
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1                               CERTIFICATE OF SERVICE
2       I hereby certify that on April 17, 2017, I electronically filed the foregoing with the
3 Clerk of the Court using the CM/ECF system which will send notification of such filing
4 to the attorney(s) of record for the defendant(s).
5
6
7                                                      s/ Kylie Noble
                                                       KYLIE NOBLE
8
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28                                                                          UNITED STATES ATTORNEY
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